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18
                                     UNITED STATES DISTRICT COURT
19                                 NORTHERN DISTRICT OF CALIFORNIA
20
       ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21     JULIAN SANTIAGO, and SUSAN LYNN
       HARVEY individually and on behalf of all                  DECLARATION OF SUSAN HARVEY
22     other similarly situated,                                 IN SUPPORT OF PLAINTIFFS’
                                                                 MOTION FOR CLASS CERTIFICATION
23                       Plaintiffs,
        v.                                                       Judge: Hon. Richard Seeborg
24
                                                                 Courtroom 3 – 17th Floor
25     GOOGLE LLC,                                               Date: October 5, 2023
                                                                 Time: 1:30 p.m.
26                       Defendant.
27

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                     HARVEY DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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1                                      DECLARATION OF SUSAN HARVEY

2              I, Susan Harvey, declare as follows.

3              1.       My name is Susan Harvey. I am over eighteen years of age and am competent to

4     testify to and have personal knowledge of the facts set forth herein.

5              2.       I am a plaintiff in this lawsuit against Google, LLC (“Google”). To protect my

6     privacy, I use Google’s Web & App Activity (“WAA”) and Supplemental Web & App Activity

7     (“sWAA”) privacy controls to block Google from tracking me. I was the victim of identity theft

8     when my Google account was accessed and fraudulent charges were made with the Google Play

9     store, so I wanted to make sure that my Web & App Activity and supplemental Web & App

10    Activity was not being stored anywhere. Because Google is a tech behemoth and collects enormous

11    amounts of data and it’s not clear to me what Google does or doesn’t do with it afterward, I turned

12    WAA and sWAA off so that it could not collect, save, or use any of my Web & App Activity and

13    supplemental Web & App Activity.

14             3.       When I opened my main Google account in 2009, and years before this lawsuit was

15    filed, I carefully read Google’s Terms of Service, Privacy Policy, and other Google disclosures to

16    understand what information was and was not collected if I chose to turn off WAA and sWAA. I

17    agreed to those terms. This included Google’s Activity Controls screen, which included the WAA

18    and sWAA options that Google said are ways to prevent Google from collecting, saving, and using

19    my Web & App Activity and supplemental Web & App Activity when I turned off WAA and

20    sWAA. These documents and disclosures offered me control of what Google did or did not collect,

21    and that when I turned off WAA and sWAA, Google would not have any access whatsoever to my

22    Web & App Activity and supplemental Web & App Activity.

23             4.       Although I had turned off WAA and sWAA and thought Google was not collecting,

24    storing, or using my Web & App Activity and supplemental Web & App Activity, I remember

25    reading about this new lawsuit and it caught my attention because of the past problems I had with

26    my Google account and how I specifically did not want Google collecting, saving, or using my

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1     information. So I contacted my current counsel to learn more about what was going on and I

2     decided to join the case.

3              5.       I joined this lawsuit with the understanding that the case has been brought as a class

4     action on behalf of two nationwide classes of individuals. The first nationwide class is:

5              Class 1: All individuals who, during the period beginning July 1, 2016 and continuing
               through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
6              “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
7              running the Android operating system, because of the Firebase Software Development Kit
8              (“SDK”) and/or Google Mobile Ads (“GMA”) SDK
               6.       The second nationwide class is:
9
               Class 2: All individuals who, during the period beginning July 1, 2016 and continuing
10             through the present (the “Class Period”), (a) had their “Web & App Activity” and/or
               “supplemental Web & App Activity” setting turned off and (b) whose activity on a non-
11
               Google-branded mobile app was still transmitted to Google, from (c) a mobile device
12             running a non-Android operating system, because of the Firebase Software Development
               Kit (“SDK”) and/or Google Mobile Ads (“GMA”) SDK.
13
               7.       As a class representative, I understand that I have a duty to protect the interests of
14
      the classes. I will protect the best interests of the members of the classes and will work with my
15
      attorneys to obtain success on behalf of those classes.
16
               8.       I do not know of any facts that would limit my ability to adequately represent the
17
      interest of other members of the classes, or that my interests conflict in any way with the interests
18
      of the classes. I have not been promised any compensation for bringing this case and serving as a
19
      class representative.
20
               9.       I understand that I am a member of Class 1 because I turned WAA and sWAA off
21
      but Google still collected my Web & App Activity and supplemental Web & App Activity on non-
22
      Google-branded mobile apps from my Android mobile devices. Although I thought that Google
23
      would not collect, save, or use any Web & App Activity and supplemental Web & App Activity
24
      when I had turned off WAA and sWAA, I now know that Google still collects, saves, and uses my
25
      Web & App Activity and supplemental Web & App Activity without my consent.
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1              10.      I have been and continue to be willing to do what is necessary to protect the interests

2     of the members of the classes. I have retained lawyers who have extensive experience in class

3     action litigation. I have discussed this case with my lawyers on numerous occasions, and reviewed

4     pleadings before they were filed. I provided deposition testimony for this case on October 27,

5     2022, and have responded to numerous written discovery requests from Google. I also allowed

6     Google to pull information from my account that is sensitive and confidential to me, like my

7     Google subscriber information. I also helped gather information from my device (with the help of

8     my lawyers and experts) to submit to Google to help understand how Google’s tracking works.

9              11.      I am familiar with the claims that have been asserted in the case and have remained

10    apprised of the Court’s orders and the strategy employed in this litigation. I am committed to

11    staying up to date on any additional developments in this case by continuing to confer with my

12    attorneys on a regular basis.

13             12.      I am aware that there are expenses involved in representing classes, and have

14    arranged with my attorneys that the expenses will be paid by my attorneys and that they will seek

15    reimbursement of these expenses if a recovery is obtained.

16             13.      I will appear at trial for this case.

17    I declare under penalty of perjury under the laws of the United States of America that the foregoing is

18    true and correct. Executed this 20th day of July, 2023, at Chowchilla, California.

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                  HARVEY DECLARATION ISO PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
